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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE                       )
 COMMISSION,                                   )
                                               )
           Plaintiff,                          )
                                               )       Case No.: 1:18-cv-02844-RDB
 v.                                            )
                                               )
 KEVIN B. MERRILL, et al.,                     )
                                               )
           Defendants.                         )


      ORDER GRANTING RECEIVER’S MOTION FOR APPROVAL OF ELEVENTH
         INTERIM FEE APPLICATION OF HMP ADVISORY HOLDINGS, LLC,
                         D/B/A HARNEY PARTNERS

         Before the Court is the Receiver’s Motion for Approval of Eleventh Interim Fee

Application of HMP Advisory Holdings, LLC, d/b/a Harney Partners (the “Motion”). Having

considered the Motion, and any responses or objections thereto, the evidence presented, and

arguments of counsel, if any, the Court finds that the time spent, services performed, hourly rates

charged, and expenses incurred by the Receiver and HMP Advisory Holdings, LLC, d/b/a Harney

Partners, on behalf of the Receivership Estate were reasonable and necessary for the Receiver to

perform his Court-ordered duties. The Court, having reviewed the Motion, is of the opinion that

the Motion be and is hereby GRANTED.

         It is therefore ORDERED that payment in the amount of $67,034.92 for fees and expenses

incurred between April 1, 2021 and June 30, 2021 is approved.

Signed this ____ day of ______________, 2021.




                                             RICHARD D. BENNETT
                                             UNITED STATES DISTRICT COURT JUDGE


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